                                Case 3:24-bk-00496-BAJ      Doc 61-2         Filed 04/12/24   Page 1 of 4
Label Matrix for local noticing                Genie Investments NV Inc.                      20 Development LLC
113A-3                                         PO Box 60443                                   1089 E Benchview Drive
Case 3:24-bk-00496-BAJ                         Jacksonville, FL 32236-0443                    Ogden, UT 84404-3783
Middle District of Florida
Jacksonville
Fri Apr 12 15:47:55 EDT 2024
A Complete Home Inspection LLC                 ALV Capital LLC                                Acres & Royalty LLC
110 Velsco Lane                                23 Upton St                                    205 N Michigan Ave
Port Sulphur, LA 70083-2362                    Peabody, MA 01960-0060                         Chicago, IL 60601-5927



Adaptive Medical Technologies LLC              Ajer LLC                                       Alere LLC
7349 Paseo Del Sur                             1070 S 650 West                                1530 E. Williams Field Rd 201
Scottsdale, AZ 85258                           Farmington, UT 84025-4603                      Gilbert, AZ 85295-1825



Ameiva LLC                                     Amrodddo Holdings LLC                          Andorful Dynasty Real Estate LLC
282 E 300 S                                    2283 Candlestick Ave                           1622 N 3950 W
Smithfield, UT 84335-1636                      Henderson, NV 89052-2361                       Lehi, UT 84043-6907



Another Chance Group Home Inc                  Anvil Construction Inc                         Archer Capital Investments
54 N Vista Ave                                 470 N. Main Street                             1448 W. Salmon Caddis Drive
Casa Grande, AZ 85122-3193                     Brigham City, UT 84302-1858                    Bluffdale, UT 84065-5122



Autonomous Drone Solutions DBA Calaway Solut   BAYI Capital Management LLC                    Belle Maison Realty, LLC
2121 Brittmoore 2200                           148 Undercliff Avenue                          1133 E 83rd Street 171
Houston, TX 77043-2220                         Edgewater, NJ 07020-1275                       Chicago, IL 60619-6455



Bild Credit LLC                                Bold City Commercial LLC                       Braces at Brick, PA
30 N Gould Street 30212                        4426 CAPITAL DOME DR                           900 Cedar Bridge Avenue
Sheridan, WY 82801-6317                        Jacksonville, FL 32246-7456                    Brick, NJ 08723



Brooklyn Heights LLC                           Bryan K. Mickler                               Bull & Bear Properties LLC
307 N Lincoln Street                           Attorney for the Debtor                        1140 E 87th Street
Tallulah, LA 71282-4314                        5452 Arlington Expy.                           Chicago, IL 60619-7012
                                               Jacksonville, FL 32211-6860


Business Live Global USA, LLC                  CNF Solutions LLC                              CannaVision Inc
4538 Walnut Ridge Circle                       135 East 620 South                             777 Main Street 600
Mc Donald, PA 15057-1608                       Smithfield, UT 84335-4901                      Fort Worth, TX 76102-5368



Cobb Utilities Inc                             Cool Beanz LLC                                 Dajo Properties LLC
191 Honey Suckle Circle                        6585 Decatur Blvd                              11360Chestnut Tree Rd
Ranger, GA 30734-6792                          Las Vegas, NV 89118-2110                       Honey Brook, PA 19344
                              Case 3:24-bk-00496-BAJ      Doc 61-2        Filed 04/12/24   Page 2 of 4
Darnell Development, LLC                     Dun Agro Hemp Group Inc                       Duval County Tax Collector
2814 W Newton CT                             P.O. Box 475                                  231 Forsyth St. #130
Visalia, CA 93291-6593                       Shelbyville, IN 46176                         Jacksonville FL 32202-3380



Edge Development LLC                         Expansive Investments, LLC                    Faith Investor Services, LLC
315 239th Ct. SE                             3855 S 500 W B                                1522 4th Ave
Sammamish, WA 98074-3687                     Salt Lake City, UT 84115                      Asbury Park, NJ 07712-4962



Fehu Capital Inc                             Ficarra Holdings LLC                          Florida Dept. of Revenue
3139 W. Holmbe Blvd A 77025-1533             408 Billings Road                             Bankruptcy Unit
                                             Somers, CT 06071-2037                         P.O. Box 6668
                                                                                           Tallahassee, FL 32314-6668


Foster Group LLC                             Global Verse Holdings LLC                     Golden Goods LLC
2539 N 300 E                                 1709 Vintage Lane                             3620 West 10th Street
Lehi, UT 84043-4403                          Wylie, TX 75098-0816                          Greeley, CO 80634-1853



H&M Essential Services, LLC                  Half a Dime, LTD                              Heliosun LLC DBA Odin
221 N Broad Street 3A                        Box 653                                       1600 S Litchfield Rd 230A
Middletown, DE 19709-1070                    Alberta                                       Goodyear, AZ 85338



High Dunes II LLC                            Hospitality Growth Capital LLC                Humane Care 7 Days Medical Group Inc
17 Lockwood Drive                            23 Upton St                                   6552 Bolsa Avenue N
Charleston, SC 29401-1190                    Peabody, MA 01960-0060                        Huntington Beach, CA 92647-2656



Internal Revenue Service -                   Iron Dragon Corporation                       JC&TL Inc
PO Box 7346                                  70 Winding Way                                13865 Magnolia Avenue B
Philadelphia, PA 19101-7346                  Gibbsboro, NJ 08026-1460                      Chino, CA 91710-7047



Just Hewitt LLC                              Knife & Spirit                                Knights Lending
205 E Hidalgo Avenue                         7217 E 4th Avenue                             1603 Capitol Ave, Ste. 413
Raymondville, TX 78580-2545                  Scottsdale, AZ 85251-3634                     Cheyenne, WY 82001-4562



Knut LLC                                     Latent Wealth Group LLC                       Law Offices of Mickler & Mickler, LLP
697 N 740 E 84043-1300                       302 N. Abajo Peak Way                         5452 Arlington Expy.
                                             Heber City, UT 84032-6501                     Jacksonville, FL 32211-6860



Lobenhaus Capital, LLC                       Log Cabin Building LLC                        MAA DFW Investments LLC
6303 Lone Wolf Drive                         289 Parker Drive                              2509 Amelia Island
Jamesville, NY 13078-9587                    Pittsburgh, PA 15216-1346                     Southlake, TX 76092-1583
                                Case 3:24-bk-00496-BAJ      Doc 61-2          Filed 04/12/24   Page 3 of 4
McMann Commercial Lending LLC                  Meetopolis LLC                                  Michele Ruiz Productions, LLC DBA Ruiz Strat
500 N Michigan Ave 600                         5434 E Kathleen Road                            925 Century Park East 1700
Chicago, IL 60611-3754                         Scottsdale, AZ 85254-1759                       West Hollywood, CA 90069



Moser Holdings, LLC                            My Dragonfly Home Solutions, LLC                NCR Digital Corp
537 S. 150 E.                                  7700 Irvine Center Drive 800                    237 Floyd Road
Smithfield, UT 84335-1654                      Irvine, CA 92618-3047                           Shirley, NY 11967-2941



NY SF Sunset Yards LLC                         New Mount olive Missionary Baptist Church In    North Haven Lodging Partners LLC
64 Grand Street                                P.O. Box 1696                                   2517 W Brentridge Circle
Brooklyn, NY 11249-4219                        Harvey, IL 60426-7696                           Sioux Falls, SD 57108-1573



Nortical Capital Inc                           Nutra-Acres Inc                                 Nutre Leasing LLC
921 E. Parker Street 1                         205 Michigan Ave                                23 Upton St
Lakeland, FL 33801-1901                        Chicago, IL 60601-5927                          Peabody, MA 01960-0060



On Site Life Care Inc.                         Oregon Business Management Group Inc            Phoenix Rising LLC
41 Flatbush Avenue, 1st Floor                  12600 SW 72nd Ave 140                           172 Center Bay
Brooklyn, NY 11217-1145                        Tigard, OR 97223-8356                           Jackson, WY 83001



Platinum Investments USA LLC                   Prine Energy Services LLC                       Ricks Ventures LLC
c/o THE CORPORATION TRUST COMPANY              450 Gears Road                                  1354 W 1900 S
CORPORATION TRUST CENTER 1209 ORANGE ST        Houston, TX 77067-4529                          Logan, UT 84321-6882
Wilmington, DE 19801-1120


Rolling By The Dozen RV Park LLC               Rowehl & Russo Properties, LLC                  S&L Zeppeteli DBA SLZ Waste Inc
40 Country Road 267                            237 Floyd Road                                  191 Moonachie Road
Somerville, TX 77879-5208                      Shirley, NY 11967-2941                          Moonachie, NJ 07074-1309



SSC Services Inc                               Secretary of the Treasury                       Seeking First LLC
80 Franklin Street                             15th & Pennsylvania Ave., NW                    3320 Laurel Dale Drive
Framingham, MA 01702-6671                      Washington, DC 20220-0001                       Tampa, FL 33618-1033



Seiler Tucker Inc                              Skyward Tax & Accounting Service LLC            Solar Capital Funding LLC
400 Poydras Suite 1460                         3505 Lake Lynda Dr. 200                         23 Upton St
New Orleans, LA 70130-3260                     Orlando, FL 32817-8333                          Peabody, MA 01960-0060



Solas Realty Concepts LLC                      Springer Farms Landholdings LLC                 Story Book Homes LLC
112 Lehigh Avenue                              325 N 1200 E                                    86 Mountain Avenue
Newark, NJ 07112-2036                          American Fork, UT 84003-2049                    Berkeley Heights, NJ 07922-2633
                               Case 3:24-bk-00496-BAJ             Doc 61-2           Filed 04/12/24      Page 4 of 4
Sun Coast Entertainment Live LLC                     Sunlight Storage LLC                                 Taj Construction LLC
6960 Brescia Way                                     3344 Bear Canyon Ln                                  10 Windsor Dr.
Orlando, FL 32819-5288                               Pleasant Grove, UT 84062-8016                        Foxboro, MA 02035-2226



Terry’s Florists LLC                                 The Farming Co. PTY LTD                              The Generations Group
46 English Plaza                                     86 Lakeside Dr.                                      1006 Top Hill Dr
Red Bank, NJ 07701-1693                              Helena, MT 59604                                     Brenham, TX 77833-2585



The Generations Group-DonStrickland -                TnC NOLA Holdings LLC                                U.S. Securities & Exchange Commission
14312 Zion Gate Xing                                 1461 Annunciaction Street B                          Office of Reorganization
Conroe, TX 77384-2516                                New Orleans, LA 70130-4539                           950 East Paces Ferry Road, N.E.
                                                                                                          Suite 900
                                                                                                          Atlanta, GA 30326-1382

United States Attorney                               VTJ LLC                                              WW LLC
300 North Hogan St Suite 700                         706 Leander DR                                       26620 E Hoxie Road
Jacksonville, FL 32202-4204                          Leander, TX 78641-5017                               Rockford, WA 99030-7003



Wai Holdings LLC                                     Wallingford Lodging Partners LLC                     Winslow Homes LLC
45 North Market                                      2517 W Brentridge Circle                             3539 Tuscany Reserve Blvd 32168-5334
Wailuku, HI 96793-1756                               Sioux Falls, SD 57108-1573



Zelco Properties LLC                                 Bryan K. Mickler +                                   United States Trustee - JAX 11 +
108 Patriot Dr A                                     Mickler & Mickler                                    Office of the United States Trustee
Middletown, DE 19709-8803                            5452 Arlington Expressway                            George C Young Federal Building
                                                     Jacksonville, FL 32211-6860                          400 West Washington Street, Suite 1100
                                                                                                          Orlando, FL 32801-2210

Scott E Bomkamp +                                    Jason A. Burgess +
DOJ-Ust                                              Jacksonville
United States Trustee                                300 North Hogan Street
400 W. Washington St.                                Room 4-213
Ste 1100                                             Jacksonville, FL 32202-4204
Orlando, FL 32801-2440



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-------------------------------------------          Bypassed recipients     1
Note: Entries with a ’-’ at the end of the           Total                 110
name have filed a claim in this case
